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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


 APRIL PARCHMAN, as administrator ad
 litem of the estate of Jeffrey Parchman,
 deceased, individually and on behalf of all
 others similarly situated, and ANN
 PARCHMAN, individually and on behalf of all
 others similarly situated,

                Plaintiffs,

                                                         No. 2:15-cv-02819-JTF-cgc
 v.

 SLM CORPORATION, NAVIENT
 CORPORATION, NAVIENT SOLUTIONS,
 INC. f/k/a Sallie Mae, Inc., and SALLIE MAE
 BANK,

                Defendants.


                       REPLY IN SUPPORT OF DEFENDANTS’
                    MOTION TO PRECLUDE CLASS CERTIFICATION
                         AND STRIKE CLASS ALLEGATIONS

        In the Response to the Motion, counsel attempt to persuade that the passage of time

 somehow should alter the Court’s finding on adequacy -- i.e., “the Court is not satisfied that

 counsel for Plaintiffs would serve as adequate class counsel in this matter.” (July 18, 2017 Order,

 Doc. 91, at p. 12). However, in so doing, counsel continue to be dismissive of the critical

 importance of the adequacy requirement in Rule 23, and their own obvious inability to meet that

 requirement.

        As noted in the Motion, class counsel have well-established fiduciary duties to the class

 that they propose to represent. See, e.g., Greenberg v. Procter & Gamble Co., 724 F.3d 713, 718

 (6th Cir. 2013) (“[T]he law relies upon the ‘fiduciary obligation[s]’ of the class representatives

 and, especially, class counsel.”); Garden City Employees Ret. Sys. v. Psychiatric Solutions, Inc.,
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 2010 U.S. Dist. LEXIS 42915, *13 (M.D. Tenn. April 30, 2010) (“[C]lass action counsel possess,

 in a very real sense, fiduciary obligations to those not before this court.”); Christie Clinic, LLC v.

 Gen. Reinsurance Corp., 2012 U.S. Dist. LEXIS 137343, *18-19 (W.D. Tenn. Aug. 1, 2012)

 (“Beyond their ethical obligations to their clients, class attorneys, purporting to represent a class,

 also owe the entire class a fiduciary duty once the class complaint is filed.”). Therefore, “[g]iven

 the far-reaching implications of certification, a court must in the broadest sense be satisfied that

 the fiduciary duties and responsibilities of the class representative and class counsel will be

 conscientiously, fairly, and justly discharged in order to protect the interests of the class.” Ballan

 v. Upjohn Co., 159 F.R.D. 473, 489-90 (W.D. Mich. 1994).

        Here, as the record amply demonstrates, Plaintiffs’ counsel breached those obligations, and

 in a serious way. While counsel seek to downplay their conduct in the Response, the fact is that

 counsel pursued these claims entirely for themselves -- i.e., absent any regard for direction from

 or consultation with a client representing the interests of the proposed class -- for several months.

 Again, counsel’s participation in the mediation here proves this point. In December 2016, Jeffrey

 Parchman had been deceased for approximately seven months, but counsel decided to participate

 without having had contact with him and without any intent to consult him during the mediation

 process. Thus, counsel necessarily were negotiating only for themselves, in violation of the most

 fundamental fiduciary obligations in class litigation -- i.e., “not to prejudice the interests that

 putative class members have in their class action litigation,” Schick v. Berg, 2004 U.S. Dist.

 LEXIS 6842, *18 (S.D.N.Y. Apr. 20, 2004), and to be free of conflicts of interest, Motisola




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 Malikha Abdallah v. Coca-Cola Co., 2000 U.S. Dist. LEXIS 19966, *11-*12 (N.D. Ga. Nov. 28,

 2000).1

           Moreover, contrary to counsel’s persistent suggestions, the named plaintiff must be

 actually involved in the litigation at all times, including in settlement negotiations for the proposed

 class, because the named plaintiff represents the interests of the putative class members. Class

 counsel cannot fulfill that role; instead, the named plaintiff has a duty to monitor counsel. See In

 re California Micro Devices Sec. Litig., 168 F.R.D. 257, 260 (N.D. Ca. 1996) (denying approval

 of a class-action settlement and stating that, “[w]hen class counsel are not effectively monitored

 by the class representative, the result is indistinguishable from the situation in which an attorney

 serves as both class counsel and class representative”); see also Turoff v. May Co., 531 F.2d 1357,

 1360 (6th Cir. 1976) (“If the interests of a class are to be fairly and adequately protected, if the

 courts and the public are to be free of manufactured litigation, and if proceedings are to be without

 cloud, the roles of class representative and of class attorney cannot be played by the same

 person.”); compare In re Universal Serv. Fund Tel. Billing Practices Litig., 219 F.R.D. 661, 672-

 73 (D. Kan. 2004) (explaining that plaintiff was an adequate representative because: “He

 understands that his duties as a class representative include hiring competent counsel, appearing

 at trial, monitoring and participating in the litigation, and participating in discovery.          He

 communicates with counsel when new documents come about, he reviews faxes and e-mails, he

 stays ‘in the general loop of what's going on,’ and he talks ‘a good amount’ with his attorney by

 phone and in person.”).



 1
   In the Response, counsel suggests that because co-plaintiff Nancy Carlin (“Carlin”) also did not
 participate in the mediation, there was no issue. However, as the Court has been informed several
 times, SMB made the disputed calls to Jeffrey Parchman, not NSL. NSL made calls to Carlin, and
 SMB is indemnifying NSL on the claims asserted on behalf of Jeffrey Parchman. Thus, by the
 parties’ agreement, the Carlin claims were not the subject of the mediation.


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          Accordingly, that counsel have not violated their fiduciary obligations lately is not the

 point. Neither the current status of this matter nor the mere passage of time should be relevant.

 The conduct of counsel is clearly established, and the Court already made a determination on

 adequacy.2 The Court should grant the Motion in its entirety, and Plaintiffs should pursue the

 instant claims for themselves.




                                                   Respectfully submitted,



                                                   By:        /s/ Bryan K. Clark
                                                                   Counsel for Defendants

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 Dated:     February 19, 2019




 2
   As noted in the Response, Plaintiffs could choose to retain substitute counsel, but they have not
 done so. The Court should consider this in connection with Plaintiffs’ own adequacy, in addition
 to the facts and arguments set forth in the Motion.

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 19, 2019, a copy of the foregoing was filed electronically

 and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent

 by e-mail to all parties by operation of the court’s electronic filing system or by mail to anyone

 unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may

 access this filing through the court’s EM/ECF System.

 Benjamin J. Miller
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 Via ECF


                                                     /s/ Bryan K. Clark
                                                             Bryan K. Clark
